      Case: 14-2138                 Document: 00712317988                   Filed: 09/22/2014          Pages: 2   (1 of 3)



        UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                         Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                               Phone: (312) 435-5850
             Chicago, Illinois 60604                                                     www.ca7.uscourts.gov




                                          NOTICE OF ISSUANCE OF MANDATE
 September 22, 2014


               Laura A. Briggs
To:
               UNITED STATES DISTRICT COURT
               Southern District of Indiana
               United States Courthouse
               Indianapolis , IN 46204-0000



                                         MARK A. WHITE,
                                         Petitioner - Appellant

 No.: 14-2138                            v.

                                         UNITED STATES OF AMERICA,
                                         Respondent - Appellee

  Originating Case Information:

 District Court No: 1:98-cr-00038-LJM-KPF-3
 Southern District of Indiana, Indianapolis Division
 District Judge Larry J. McKinney
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                        No record to be returned




NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
   Case: 14-2138          Document: 00712317988                  Filed: 09/22/2014        Pages: 2      (2 of 3)



to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

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 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:


 _________________________
    9/22/2014                                        ______________________________
                                                     ____________________________________
                                                      Deputy Clerk, U. S. District Court



 form name: c7_Mandate(form ID: 135)
   Case: 14-2138       Document: 00712317989              Filed: 09/22/2014      Pages: 1       (3 of 3)



                 United States Court of Appeals
                                  For the Seventh Circuit
                                  Chicago, Illinois 60604



                                      August 15, 2014

By the Court:

No. 14-2138

MARK A. WHITE,
    Applicant,                                      On Petition for Rehearing.

       v.

UNITED STATES OF AMERICA,
     Respondent.

                                         ORDER

       Mark White filed a petition for rehearing of this court’s order denying his
application for leave to file a successive collateral attack. This court is not authorized to
consider White’s motion, 28 U.S.C. § 2244(b)(3)(E), which shall be filed without further
action by the court.

         In denying his application just two weeks ago, we warned White that continuing
to file frivolous papers would result in sanctions in accordance with Alexander v. United
States, 121 F.3d 312 (7th Cir 1997). But White has done just that, continuing to raise the
same challenge to his conviction under Crawford v. Washington, 541 U.S. 36 (2004), that
he has raised in five previous collateral attacks. Accordingly, we now impose the
following SANCTION:

       White is fined $500. Until he pays that sum in full to the clerk of this court, he is
       barred from filing further civil suits in the courts of this circuit, in accordance
       with Support Systems International v. Mack, 45 F.3d 185 (7th Cir. 1995). Any papers
       he submits attacking his current criminal judgment, including further collateral
       attacks, shall be returned unfiled and any applications for leave to file collateral
       attacks will be deemed denied on the 30th day unless the court orders otherwise.
